               IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                        WESTERN DIVISION

FELICITY M. VEASEY and                    )
SECOND AMENDMENT FOUNDATION,              )
INC.,                                     )
                                          )
                    Plaintiffs,           )
                                          )
v.                                        )       Case No. 5:14-CV-369-BO
                                          )
BRINDELL B. WILKINS, JR., in his official )
Capacity as Sheriff of Granville County,  )
North Carolina,                           )
                                          )
                    Defendant.            )

    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      NOW COME the Plaintiffs, FELICITY M. VEASEY and SECOND
AMENDMENT FOUNDATION, INC., by and through undersigned counsel, and
submit their Memorandum of Points and Authorities in Support of their Motion for
Preliminary Injunction.

Dated: November 5, 2014                    Respectfully submitted,

                                     By:          /s/ David G. Sigale
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    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

                           PRELIMINARY STATEMENT

       North Carolina General Statute (“N.C.G.S.”) § 14-415.12(a)(1), which denies

otherwise-qualified lawful resident aliens the ability to obtain an permit to bear

concealable firearms for public carrying, flatly violates the Plaintiffs’ Second

Amendment rights to keep and bear arms. Also, because otherwise-qualified

United States citizens are not restricted from obtaining a concealed carry permit in

North Carolina, Plaintiffs’ right to equal protection of the law under the Fourteenth

Amendment is being violated. The deprivations of constitutional rights subject

Plaintiffs to irreparable harm, and is such a clear-cut unconstitutionally-inflicted

harm that Plaintiffs are clearly likely to succeed on the merits by the conclusion of

this litigation.

       The State’s law, if not preliminarily enjoined, also poses an immediate threat

to public safety, as an entire class of North Carolina residents has been and

continues to be wrongfully denied the right and ability the full ability to defend

their persons from criminal attack. North Carolina has no valid interest in

completely banning legal aliens from registering concealable firearms for public

carrying when citizens are not so banned. Therefore, the balance of interests falls

heavily on Plaintiffs’ side, and preliminary injunctive relief is warranted and

appropriate.




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                              STATEMENT OF FACTS

A.    North Carolina’s Statute Bars Legal Aliens from Concealable Firearm
      Registration.

      The State of North Carolina requires that its residents who wish to obtain a

permit to carry a concealed handgun (“CCP”) must apply to the Sheriff of the

County in which he or she resides. In Veasey’s case this is the Defendant Wilkins.

      N.C.G.S. § 14-415.12 provides in pertinent part:

               (a)   The sheriff shall issue a permit to an applicant if the
                     applicant qualifies under the following criteria:

               (1)   The applicant is a citizen of the United States and has been a
                     resident of the State 30 days or longer immediately preceding
                     the filing of the application. (Emphasis added.)

N.C.G.S. § 14-415.12(a)(1).

      N.C.G.S. § 14-269(a1), in relevant part, prohibits one from willfully and

intentionally carrying concealed about his/her person a concealed pistol or gun

unless the person is on his/her own premises, the person is carrying a concealed

handgun while possessing a concealed handgun permit and carrying said handgun

within the scope of the permit.

      N.C.G.S. § 14-269(c) states, in relevant part, “[a]ny person violating the

provisions of subsection (a1) of this section shall be guilty of a Class 2 misdemeanor

for the first offense. A second or subsequent offense is punishable as a Class I

felony.”




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      N.C.G.S. § 15A-1340.23(c) provides that a Class 2 misdemeanor with no prior

convictions may receive a sentence of 1-30 days, with a community punishment

authorized and a maximum $1000.00 fine.

      N.C.G.S. § 15A-1340.17(c) and (d) provides that a Class I felony with one

Class Al misdemeanor conviction (See N.C.G.S. § 15A-1340.14(b)(5)) may receive a

presumptive sentence of 4-17 months, with a community punishment authorized

and a fine subject to the court’s discretion.

      These Code sections prohibit Veasey and all other legal aliens residing in

North Carolina from obtaining a concealed carry permit, and therefore from the

public concealed carry of firearms for self-defense.

      It is unclear what North Carolina’s claimed purpose was for enacting this

prohibition, which serves solely to discriminate against North Carolina’s qualified

legal alien population, including Veasey and members of SAF, though there is no

purpose North Carolina can offer that passes constitutional muster.

B.    The Registration Prohibition’s Impact on Veasey and Similarly-Situated
      North Carolina Residents.

      Plaintiff Veasey is 38 years old, and a citizen of Australia residing with her

family in Butner, North Carolina, and who has done so since 2004. She also lived in

neighboring Durham County, North Carolina from 2001-2004. Veasey received her

permanent resident visa (a/k/a “green card”) in 2001. Prior to that Veasey was on a

work visa, which she had while she worked at the Australian Embassy in

Washington, D.C. Prior to that, she briefly was in the United States on a tourist

visa. Felicity has been employed in IT and telecommunications for the same


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company in North Carolina since 2001. In sum, she has many solid connections to

the State of North Carolina and the Butner area, including her husband and

stepson who reside with her in the area (See ¶1 of Declaration of Felicity M. Todd

Veasey, attached hereto).

      Veasey is allowed to possess a handgun in North Carolina only in her house

or on her property, but is prohibited by N.C.G.S. § 14-415.12(a)(1) from obtaining a

concealed carry permit, and thus generally carrying a handgun in a concealed

manner for self-defense (See ¶2 of Veasey Declaration).

      Veasey would carry a loaded and functional concealed handgun in public for

self-defense, but she refrains from doing so because she fears arrest, prosecution,

fine, and imprisonment as she understands it is unlawful for a non-citizen to carry a

concealed handgun in North Carolina (See ¶5 of Veasey Declaration).

      In October, 2012, Veasey was notified by the Granville County Sheriff’s Office

that she was ineligible for a concealed carry permit because she is not a citizen. She

was told not to bother applying because her application would be denied on the

basis of citizenship and the money for the application fee would be wasted.

Therefore, Felicity’s attempt to apply for a concealed carry permit was denied. (See

¶3 of Veasey Declaration).

      Defendant Wilkins is the Sheriff of Granville County, North Carolina. In

Wilkins’s official capacity, he is responsible for enforcing certain of North Carolina’s

laws, customs, practices, and policies, specifically including N.C.G.S. § 14-

415.12(a)(1). In that capacity, Wilkins is presently enforcing the laws, customs,



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practices and policies complained of in this action. Specifically, Wilkins is the

authority charged with processing and issuing concealed carry permit applications

in Granville County, North Carolina. He is sued in his official capacity (Defendant’s

Answer to Complaint (Doc. 13) at ¶15).

      SAF is a non-profit membership organization incorporated under the laws of

Washington with its principal place of business in Bellevue, Washington. SAF’s

membership includes lawfully admitted aliens residing in North Carolina. SAF has

over 650,000 members and supporters nationwide, including many in the State of

North Carolina. Veasey is a member of SAF. The purposes of SAF include

education, research, publishing and legal action focusing on the Constitutional right

privately to own and possess firearms. SAF litigates this action on behalf of itself

and its members, and as such has organizational standing to pursue this action and

Motion (See ¶2 of Declaration of Julianne H. Versnel, Director of Operations of SAF,

attached hereto).

      Veasey is a member of SAF (See ¶6 of Veasey Declaration).

      Every day that passes without relief from North Carolina’s registration

prohibition, all legal aliens residing in North Carolina who are otherwise qualified

to obtain a concealed carry permit, including Veasey and the members and

supporters of Plaintiff SAF, are frustrated in their ability to carry handguns in a

concealed manner for self-defense, and to enjoy their constitutional rights.

      But for the criminal enactments challenged in this complaint, and

Defendant’s enforcement of same, Veasey and the qualified legal alien members of



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SAF would obtain permits and carry concealable firearms for self-defense, but

refrain from doing so for fear of arrest, prosecution, fine and incarceration (See ¶5 of

Veasey Declaration; ¶4 of Versnel Declaration).

                              SUMMARY OF ARGUMENT

      North Carolina’s prohibition on legal aliens obtaining a concealed carry

permit for self-defense, regardless of said legal alien’s qualifications to do so,

unquestionably violates the constitutional guarantees of keeping arms and equal

protection under the laws, as do any other of North Carolina’s various statutes that,

regardless of their facial validity, undeniably frustrate constitutionally-secured

equal rights of concealed handgun possession.

      Considering the certainty of success on the merits, Plaintiffs are entitled to

preliminary injunctive relief. Plaintiffs are suffering, and will continue to suffer,

irreparable harm in the absence of injunctive relief, for which there is no adequate

remedy at law. Granting Plaintiffs relief cannot injure Defendant. And given the

degree to which North Carolina’s concealed carry permit prohibition threatens the

safety of Plaintiffs, the public interest - already favoring the exercise of

fundamental rights - is clearly satisfied by immediately enjoining North Carolina’s

unconstitutional practices.

                                     ARGUMENT

      “A plaintiff seeking a preliminary injunction must establish that he is likely

to succeed on the merits, that he is likely to suffer irreparable harm in the absence




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of preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.” Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008).

      Similarly, the Fourth Circuit acknowledged and evaluated these same four

elements in Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013). Although other

Fourth Circuit cases seem to have raised Plaintiffs’ burden by requiring a “clear”

showing of the first two elements (See, e.g., United States v. South Carolina, 720

F.3d 518, 533 (4th Cir. 2013)), Plaintiffs’ burden should be analyzed in accordance

with Winter.

      There are also some older cases which have held that because Plaintiffs are

seeking a mandatory, rather than prohibitive, preliminary injunction, that the

preliminary injunction should only be granted “only in those circumstances when

the exigencies of the situation demand such relief.” Wetzel v. Edwards, 635 F.2d

283, 286 (4th Cir. 1980). The denial of constitutional rights, and the threat to the

Plaintiffs’ safety, is such a circumstance.

      Plaintiffs easily satisfy all these threshold requirements for obtaining

preliminary injunctive relief, even under a heightened standard, and the balance of

interests weigh heavily in their favor.

I.    THE SECOND AMENDMENT APPLIES TO PLAINTIFF VEASEY AND
      SAF’S LEGAL ALIEN MEMBERS

      The question of whether Veasey, a lawful alien residing in North Carolina,

and SAF’s similarly-situated members enjoy Second and Fourteenth Amendment

rights is an easy one – the Supreme Court has ruled that they do. “. . . ‘[T]he people’

protected by the . . . Second [Amendment] . . . refers to a class of persons who are


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part of a national community or who have otherwise developed sufficient connection

with this country to be considered part of that community.” United States v.

Verdugo-Urquidez, 494 U.S. 259, 265 (1990). That includes those who are legally in

the country. See United States ex rel. Turner v. Williams, 194 U.S. 279, 292 (1904).

Of course, North Carolina acknowledges this to some extent; legal aliens are

allowed firearm possession on their premises, and are even allowed to carry

firearms openly. See N.C. Const. art. I, § 30; State v. Kerner, 181 N.C. 574, 576

(1921) (“right to bear arms unconcealed cannot be infringed.”). However, North

Carolina has arbitrarily decided that said legal aliens shall not be permitted to

obtain a concealed carry permit, which would enable Veasey and others similarly-

situated to defend themselves in every other circumstance the same as citizens.

      “The Fourteenth Amendment provides, ‘Nor shall any State deprive any

person of life, liberty, or property, without due process of law; nor deny to any

person within its jurisdiction the equal protection of the laws.’ It has long been

settled, and it is not disputed here, that the term ‘person’ in this context

encompasses lawfully admitted resident aliens as well as citizens of the United

States and entitles both citizens and aliens to the equal protection of the laws of the

State in which they reside.” Graham v. Richardson, 403 U.S. 365, 371 (1971) (citing

Yick Wo v. Hopkins, 118 U.S. 356, 369 (1886)).

      State action violates equal protection rights if it separates individuals into

discrete classes based on citizenship and subjects those individuals to disparate

treatment. Graham, 403 U.S. at 371, 377. A classification based on an individual’s



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status as an alien is “inherently suspect and subject to close judicial scrutiny.” Id.

at 372. “Aliens as a class are a prime example of a ‘discrete and insular’ minority

(see United States v. Carolene Products Co., 304 U.S. 144, 152-153, n. 4 (1938)) for

whom such heightened judicial solicitude is appropriate.” Graham, 403 U.S. at 372.

“The Fourteenth Amendment and the laws adopted under its authority thus

embody a general policy that all persons lawfully in this country shall abide ‘in any

state’ on an equality of legal privileges with all citizens under non-discriminatory

laws." Id. at 374 (quoting Takahashi v. Fish & Game Commission, 334 U.S. 410,

420 (1948)).

      Further, legal aliens in the United States have been extended the same

Constitutional rights as citizens in a variety of other situations for more than one

hundred years. See, e.g., Kwong Hai Chew v. Colding, 344 U.S. 590, 596 (1953)

(resident alien is a “person” within the meaning of the Fifth Amendment); Bridges

v. Wixon, 326 U.S. 135, 148 (1945) (resident aliens have First Amendment rights);

Russian Volunteer Fleet v. United States, 282 U.S. 481 (1931) (Just Compensation

Clause of Fifth Amendment); Wong Wing v. United States, 163 U.S. 228, 238 (1896)

(resident aliens entitled to Fifth and Sixth Amendment rights). Even illegal aliens

then-presently in the Country receive protection under the Fourteenth

Amendment’s Due Process Clause. (See, e.g., Zadvydas v. Davis, 553 U.S. 678, 693

(2001)).

      The Tenth Circuit addressed the issue of the constitutionality of 18 U.S.C. §

922(g)(5) as applied to an illegal alien, an issue not confronted here. United States



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v. Huitron-Guizar, 678 F.3d 1164 (10th Cir. 2012). However, in discussing the post-

Heller litigation, the Court noted as to lawful permanent residents like Veasey:

             The thrust of Heller, or at least the intended thrust of
             much post-Heller litigation, has been to broaden the right.
             Recently some state statutes that burden gun possession
             by lawful permanent aliens (which § 922(g)(5) does not
             cover) have been declared invalid under the Equal
             Protection Clause, which requires that strict scrutiny be
             applied to state laws that impose restrictions based on
             alienage. See, e.g., People v. Bounsari, 31 Misc. 3d 304,
             915 N.Y.S.2d 921, 924 (N.Y. City Ct. 2011) (invalidating
             New York statute dating from 1905, prohibiting non-
             citizens from possessing a dangerous weapon, and noting
             related decisions in Michigan, Nevada, California);
             Fletcher v. Haas, [851 F. Supp. 2d 287, 301] (D.Mass.
             Mar. 30, 2012) (holding that Massachusetts's firearm
             regime contravenes the Second Amendment as applied to
             lawful permanent residents).

Huitron-Guizar, 678 F.3d at 1170. Other Courts have also ruled along a line

dividing the lawful permanent resident from the illegal alien, where the lawful

resident possesses Second Amendment rights and the illegal alien does not. See,

e.g., United States v. Boffil-Rivera, 2008 U.S. Dist. LEXIS 84633 at *32 (S.D. Fla.

Aug. 12, 2008) (“Congress has made a policy judgment, as it has in numerous other

statutes, that unlike citizens and legal residents, illegal aliens by their very

unauthorized nature and lack of allegiance to the government of the United States

pose a greater risk to abuse firearms.”) (Emphasis added.); See also United States v.

Flores-Higuera, 2011 U.S. Dist. LEXIS 84934 at *5 (N.D. Ga. July 6, 2011)

(“Because Defendant is not a citizen, or at the least, a lawful resident with ties to

the community, the Court concludes that he is not a member of the "political

community" whose rights are protected by the Second Amendment.)”


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         The Court concluded in Fletcher v. Haas, 851 F. Supp. 2d 287 (D.Mass.,

2012):

               With this framework in mind, I find no justification for
               refusing to extend the Second Amendment to lawful
               permanent residents. They have necessarily “developed
               sufficient connection with this country to be considered
               part of [the] community.” Verdugo-Urquidez, 494 U.S. at
               265. Professor Rosberg has identified as “the traditional
               premise of the country’s immigration policy—that
               resident aliens are virtually full-fledged members of the
               American community, sharing the burdens of membership
               as well as the benefits.” Gerald M. Rosberg, The
               Protection of Aliens from Discriminatory Treatment by the
               National Government, 1977 Sup. Ct. Rev. 275, 337 (1978).
               And then-Professor Aleinikoff, a former General Counsel
               of the Immigration and Nationalization Service, observed
               a decade ago,

               “Permanently residing aliens live and function much like
               citizens. They hold jobs, attend churches, send their
               children to school, and pay taxes. Children they give birth
               to in the United States are American citizens. From this
               perspective, the fact that aliens are not required by law to
               apply for citizenship is not surprising; in day-to-day
               terms, permanently residing aliens and citizens are
               already largely indistinguishable.”

Fletcher, 851 F. Supp. 2d at 301 (quoting T. Alexander Aleinikoff, Semblances of

Sovereignty: The Constitution, the State, and American Citizenship 173 (2002)).

Thus, the Court in Fletcher determined that the plaintiffs in that case, two lawful

permanent resident aliens, were entitled to Second Amendment rights. Fletcher,

851 F. Supp. 2d at 301-02. See also State of Washington v. Ibrahim, 164 Wn. App.

503, 514 (Wash. App. Div. 3, 2011) (legal alien’s conviction for unlawful possession

of firearm reversed when statute barring lawful aliens from possessing firearms




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found to unconstitutionally deny defendant 14th Amendment right to equal

protection of law).

       The Seventh Circuit has compared the analysis of infringements of Second

Amendment rights to those of infringements of First Amendment rights (See Ezell

v. City of Chicago, 651 F.3d 684 (7th Cir. 2011) (ban on gun ranges within State

limits ruled unconstitutional). According to Ezell, infringements on the core Second

Amendment right of possession for self-defense must satisfy a level of scrutiny

approaching strict scrutiny. Id. at 708. This means North Carolina’s prohibition, “.

. . a severe burden on the core Second Amendment right of armed self-defense will

require an extremely strong public-interest justification and a close fit between the

government’s means and its end.” Id. Though the Fourth Circuit has yet to

consider the specific issue raised in this case, the Ezell decision is comprehensive,

well-considered, and its holdings and reasoning should be followed by this Court.

Doing so, it is evident North Carolina cannot defend its arbitrary ban. Further,

under any level of scrutiny (rational basis not even being up for consideration under

District of Columbia v. Heller, 128 S. Ct. 2783, 2818, fn 27 (2008)), North Carolina’s

statute fails.

       Further, while North Carolina trusts lawful resident aliens to openly carry

firearms subject to certain exceptions, it is not always desirable, feasible or

available to do so. The Seventh Circuit, in Moore v. Madigan, 702 F.3d 933 (7th

Cir. 2012), held the ban of the public carrying of firearms violated the Second




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Amendment and was unconstitutional, and noted the importance of the right to self-

defense:

             Both Heller and McDonald do say that “the need for defense of
             self, family, and property is most acute” in the home, id. at 3036
             (emphasis added); 554 U.S. at 628, but that doesn’t mean it is
             not acute outside the home. Heller repeatedly invokes a broader
             Second Amendment right than the right to have a gun in one's
             home, as when it says that the amendment “guarantee[s] the
             individual right to possess and carry weapons in case of
             confrontation.” 554 U.S. at 592. Confrontations are not limited
             to the home.

Id. at 935-36.

      This District had previously reached this legal conclusion in Bateman v.

Perdue, 881 F.Supp.2d 709 (E.D.NC, 2012), where the portion of the North Carolina

Riot Control Act of 1969 which prohibited residents from bearing arms for self-

defense was an unconstitutional violation of Second Amendment rights. Id. at 716.

The Court in Bateman applied strict scrutiny to the prohibition, as the plaintiffs

were law-abiding residents of the State. Id. at 715. The law-abiding Plaintiffs in

this case deserve the same consideration, especially since they are members of a

suspect class being discriminated against solely for that reason.

      Plaintiffs as legal aliens enjoy Second Amendment rights, which includes the

right to carry firearms in public for self-defense. “Although considerable uncertainty

exists regarding the scope of the Second Amendment right to keep and bear arms, it

undoubtedly is not limited to the confines of the home.” Id. at 714. If legal aliens

(like everyone else) are considered trustworthy enough to carry openly, then it




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serves no governmental purpose to deny them the right to concealed carry, in the

manner exercised and enjoyed by citizens.

II.   PLAINTIFFS WILL SUFFER IRREPARABLE HARM IN THE ABSENCE
      OF PRELIMINARY INJUNCTIVE RELIEF.

      Veasey, and other members and supporters of SAF, enjoy a fundamental

right to keep and bear arms. McDonald v. City of Chicago, 130 S. Ct. 3020, 3042

(2010) (majority op.) (Alito, J.). “[T]he inherent right of self-defense has been

central to the Second Amendment right.” Heller, 128 S. Ct. at 2817. The denial of

constitutional rights, even if such deprivation were temporary, constitutes

irreparable harm for purposes of granting injunctive relief (See, e.g., Centro Tepeyac

v. Montgomery County, 722 F.3d 184, 191 (4th Cir. 2013) (First Amendment

freedom of speech) (citing Elrod v. Burns, 427 U.S. 347, 373, (1976)); See also

Legend Night Club v. Miller, 637 F.3d 291, 302 (4th Cir. 2011) (unconstitutional ban

on adult entertainment by establishments with liquor license a violation of First

Amendment).

      As noted above, in Ezell the Seventh Circuit favorably compared the

fundamental freedoms of the Second Amendment to those fundamental freedoms of

the First Amendment and deemed the deprivation of either to be irreparable harm.

The Ezell Court held that “[t]he loss of a First Amendment right is frequently

presumed to cause irreparable harm based on ‘the intangible nature of the benefits

flowing from the exercise of those rights; and the fear that, if those rights are not

jealously safeguarded, persons will be deterred, even if imperceptibly, from

exercising those rights in the future.’ . . . The Second Amendment protects similarly


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intangible and unquantifiable interests. Heller held that the Amendment's central

component is the right to possess firearms for protection. (cite omitted).

Infringements of this right cannot be compensated by damages.” See Ezell, 651

F.3d at 699.

      Put simply, if N.C.G.S. § 14-415.12(a)(1) is not enjoined, legal aliens

including the Plaintiffs will continue to be unconstitutionally frustrated in their

ability to exercise their fundamental Second Amendment rights.

      Considering that the Second Amendment exists to secure the right of armed

self-defense, the inability for legal aliens to defend themselves against violence in a

manner allowed not only by the vast majority of the United States, but also allowed

to North Carolina residents who are U.S. citizens, also causes a profound loss of a

sense of one’s security, to say nothing of the irreparable harm resulting from a

successful criminal attack. Thus, the irreparable harm flowing from any delays in

obtaining relief is palpable.

      Additionally, the deprivation of the right of lawful resident aliens to be

treated equally under the law, and instead being discriminated due to their

alienage classification, in violation of the Equal Protection Clause of the Fourteenth

Amendment, is an irreparable harm that continues so long as the offending statute

is in place. Equal protection “is essentially a direction that all persons similarly

situated shall be treated alike.” City of Cleburne v. Cleburne Living Center, 473

U.S. 432, 439 (1985). “When an alleged constitutional right is involved, most courts

hold that no further showing of irreparable injury is necessary.” Kikumura v.



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Hurley, 242 F.3d 950, 963 (10th Cir. 2001) (citing 11A Charles Alan Wright et al.,

Federal Practice and Procedure § 2948.1 (2d ed. 1995)); See also Rum Creek Coal

Sales, Inc. v. Caperton, 926 F.2d 353, 362 (4th Cir. 1991); Ezell, 651 F.3d at 699.

       Under both the Second and Fourteenth Amendments, Plaintiffs are currently

suffering the irreparable harm of the deprivation of their constitutional rights, and

will continue to suffer said irreparable harm every day N.C.G.S. § 14-415.12(a)(1) is

not enjoined.

III.   TRADITIONAL LEGAL REMEDIES ARE INADEQUATE TO RELIEVE
       THE HARM OF THE BAN ON REGISTRATION BY LEGAL ALIENS.

       There is no way to quantify, in terms of money damages, the inability to

engage in protected Second Amendment activity such as the concealed carry of a

firearm such as a handgun for self-defense, or the discrimination of being classified

solely based on alienage in violation of Fourteenth Amendment Equal Protection

rights. The infringement of constitutional rights is frequently considered to be

beyond quantification with money damages. This includes infringements of Second

Amendment rights. See Ezell, 651 F.3d at 699; See also, e.g., Legend Night Club,

637 F.3d at 302; Lux v. Judd, 842 F.Supp.2d 895, 904 (E.D.Va 2012) (First

Amendment free association rights).

       No legal remedies will be available to legal aliens whose concealed carry

permits will be refused because non-citizens are denied Second Amendment rights

or the equal protection of North Carolina’s firearms laws. And quite obviously, no

legal remedies will suffice to compensate those killed or injured for the inability to

lawfully possess concealed defensive arms, owing to North Carolina’s ban.


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IV.     PLAINTIFFS WILL PREVAIL ON THE MERITS, AS NORTH CAROLINA’S
        BAN ON CONCEALED CARRY PERMITS VIOLATES THEIR SECOND
        AND FOURTEENTH AMENDMENT RIGHTS.

Possession of Handguns for Lawful Purposes Including Self-Defense Lies at the Core
of the Second Amendment.

        “[P]laintiffs seeking preliminary injunctions must demonstrate that they are

likely to succeed on the merits. Winter, 555 U.S. at 20. Although this inquiry

requires plaintiffs seeking injunctions to make a ‘clear showing’ that they are likely

to succeed at trial, Real Truth [About Obama, Inc. v. FEC], 575 F.3d at 345 [(4th

Cir. 2009)] plaintiffs need not show a certainty of success.” Pashby, 709 F.3d at 321;

See also League of Women Voters of N.C. v. North Carolina, 2014 U.S.App. LEXIS

18764 at *51 (4th Cir. 2014). In this case, Plaintiffs have made a clear showing they

should win on the merits.

        “[T]he Court has acknowledged that certain unarticulated rights are implicit

in enumerated guarantees . . . fundamental rights, even though not expressly

guaranteed, have been recognized by the Court as indispensable to the enjoyment of

rights explicitly defined.” Richmond Newspapers v. Virginia, 448 U.S. 555, 579-80

(1980). Unsurprisingly, the Supreme Court has noted that the enumerated,

articulate right to possess a firearm for lawful purposes, most notably for self-

defense, are fundamentally core to the Second Amendment. McDonald, 130 S.Ct. at

3043.

        In Heller, neither the D.C. Circuit nor the Supreme Court bothered to engage

in any balancing test or other extended analysis before striking down Washington,

D.C.’s ban on the possession of functional firearms for self-defense, as that law

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literally contradicted a "core" aspect of Second Amendment rights. Heller, 128 S.

Ct. at 2818. A complete ban on concealed possession of firearms for an entire class

of legal North Carolina residents, based on nothing more than citizenship status,

will meet the same fate.

       There is much precedent as to this issue. The District of Hawaii recently

enjoined a ban on lawful resident aliens from obtaining a permit to purchase

firearms. Fotoudis v. City and County of Honolulu, 2014 U.S.Dist. LEXIS 130525

(D.HI, September 17, 2014). The Court held:

             The undisputed facts establish that Fotoudis, as a lawful
             permanent resident alien of the United States (and
             resident of Hawaii), was denied the opportunity to apply
             for a permit to acquire firearms solely because of his
             alienage. This classification violates the equal protection
             clause of the U.S. Constitution. HRS § 134-2(d) is thus
             unconstitutional as-applied to Fotoudis (and other lawful
             permanent resident aliens), and Defendants are therefore
             permanently enjoined from denying Fotoudis the
             opportunity (1) to apply for a permit to acquire firearms,
             and (2) to obtain such a permit, if he otherwise meets the
             qualifications of state law, as specifically set forth in the
             Conclusion of this Order.

Id. at *9.

       As to the concealed carry ban at issue in this case, the District Court in the

Western District of Arkansas recently entered a permanent injunction against the

exact same restriction (See Order of Final Judgment in Pot v. Witt, 3:13-CV-3102

(W.D.Ark.) dated May 8, 2014, attached hereto).

       Just previous to the judgment in Pot, in Nino de Rivera Lajous v. Sankey,

4:13-CV-3070 (D.Neb.), the District Court entered a permanent injunction against



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an identically-discriminatory restriction (See Order of Final Judgment in 4:13-CV-

3070 dated October 15, 2013, attached hereto).

      Further, in Jackson v. Eden [prev. Hubbard], 1:12-CV-421 (D.NM), a New

Mexico statutory restriction identical to that challenged here was permanently

enjoined as a violation of Fourteenth Amendment equal protection grounds on

March 31, 2014 (See Judgment in 1:12-CV-421, attached hereto). In the Opinion

accompanying the Judgment, the Court stated:

            There is no argument made, much less any evidence
            proferred, that permanent resident aliens who reside in
            this country legally pose a greater danger when carrying
            a concealed loaded firearm than do United States citizens.
            Indeed, ‘[a]ny classification which treats all aliens as
            dangerous and all United States citizens as trustworthy
            rests upon a very questionable basis.’ Id. at Doc. 59, p.9
            (quoting People v. Rappard, 28 Cal.Ct.App. 302, 305
            (Cal.Ct.App. 1972); Fletcher, 851 F.Supp.2d at 303 (“Any
            classification based on the assumption that lawful
            permanent residents are categorically dangerous and all
            American citizens by contrast are trustworthy lacks even
            a reasonable basis.”)).

      The Jackson Court went on to hold:

            The Court concludes that the citizenship provision in [the
            New Mexico concealed carry statutes] violates the Equal
            Protection Clause of the United States Constitution as
            applied to permanent resident aliens, like Plaintiff
            Jackson, who are otherwise qualified to obtain a
            concealed carry license.     Accordingly, Plaintiffs have
            prevailed on the merits of their Equal Protection claim.

Jackson, 1:12-CV-421 at Doc.59, p.10).

      Finally, Plaintiffs’ position has been supported by case law since 2011, just

months after the McDonald v. City of Chicago decision. See Smith v. State of South



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Dakota, 781 F.Supp.2d 879, 886 (D.SD, 2011) (prohibiting lawful resident aliens

from obtaining concealed carry permits is not narrowly tailored and violates Equal

Protection Clause under strict scrutiny analysis).

      North Carolina’s statute strongly fails all four preliminary injunction factors.

As noted in the numerous other similar cases, it is not within the State’s

constitutional power to ban otherwise qualified legal alien residents from

possessing concealed firearms, including handguns which have been expressly

deemed constitutionally protected by the Supreme Court. See Heller, 128 S.Ct. at

2817-18 (“Under any of the standards of scrutiny that we have applied to

enumerated constitutional rights, banning from the home ‘the most preferred

firearm in the nation to ‘keep’ and use for protection of one's home and family,’

would fail constitutional muster”). That North Carolina has such a ban violates the

Second and Fourteenth Amendments. The State has no interest, let alone an

extremely strong one, in denying all legal aliens the fundamental Second and

Fourteenth Amendment rights of handgun possession in the same manner available

to citizens. In light of the above, a preliminary injunction against the enforcement

of N.C.G.S. § 14-415.12(a)(1) should be immediately entered.

V.    THE BALANCE OF INTERESTS FAVOR IMMEDIATE INJUNCTIVE
      RELIEF.

      The Plaintiffs are certain to prevail on the merits. Absent relief, they will

continue to suffer irreparable injury in the loss of Second and Fourteenth

Amendment rights, if not actual physical harm. The State has no legitimate

interest in the prohibition; and the public interest strongly favors equal protection


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of the law, and the respecting of fundamental rights, to say nothing of the ability of

all qualified North Carolina residents to defend themselves equally. The balance of

interests could not more completely tilt in favor of immediate injunctive relief.

                                   CONCLUSION

      North Carolina cannot deny Second and Fourteenth Amendment rights to an

entire class of its residents. Plaintiffs respectfully request that the motion for

preliminary injunctive relief be granted.


Dated: November 5, 2014                          Respectfully submitted,


                                                 By:          /s/ David G. Sigale
                                                              David G. Sigale

                                                 One of the Attorneys for Plaintiff

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 CERTIFICATE OF ATTORNEY AND NOTICE OF ELECTRONIC FILING

The undersigned certifies that:

      1.     On October 30, 2014, the foregoing document was electronically filed
with the District Court Clerk via CM/ECF filing system;

      2.    Pursuant to F.R.Civ.P. 5, the undersigned certifies that, to his best
information and belief, there are no non-CM/ECF participants in this matter.



                                                     /s/ David G. Sigale
                                              One of the Attorneys for Plaintiff




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